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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

 BRIDGET DE MOURA CASTRO AND                         :
 LUIZ DE MOURA CASTRO, by his next best              :
 friend Helena Hilario                               :
                              Plaintiffs             :
 v.                                                  :        3:21-CV-01020 (RMS)
                                                     :
 GOODLEAP, LLC, f/k/a LOANPAL, LLC,                  :
 PRIME ENERGY, LLC AND 1ST LIGHT                     :        September 23, 2024
 ENERGY, INC.                                        :
                             Defendants              :

                        PLAINTIFFS’ MOTION FOR ATTORNEY’S FEES

        Pursuant to Federal Rule of Civil Procedure 54(d)(2) and the judgment entered by this

Court against Defendants Prime Energy, LLC (“Prime”) and 1st Light Energy, Inc. (“1st Light”)

on September 9, 2024 (ECF 152), Plaintiffs Bridget and Luiz de Moura Castro hereby move for

an award of attorney’s fees and costs and in support thereof states as follows:

   1.     Plaintiffs filed this action by way of a Complaint against Defendants July 26, 2021.

   2.     The Complaint alleged that the Defendant violated the federal Fair Credit Reporting

Act, 15 U.S.C. §1681 et seq., Connecticut Unfair Trade Practices Act, Conn. Gen. Stat. § 42-

110a et seq. (“CUTPA”), and other state laws in relation to the sale and financing of a solar panel

system to Plaintiffs.

   3.      After a half-day hearng on August 21, 2024 on damages in the federal courthouse, by

Order dated September 4, 2024, this Court granted the Motion for Default Judgment against

Prime and 1st Light, awarding Plaiintiffs a total of $1,000,000.00. (ECF 151).

   4.     On September 9, 2024, the Court entered judgment against Prime and 1st Light for

$1,000,000.00. (ECF 152).
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   5.     Each of the statutes violated giving rise to judgment allow the Plaintiffs to recover

their reasonable attorney fes:

           a. FCRA, 15 U.S.C. §§ 1681n(3), 1681o(2): “Any person [violating FCRA] … is

               liable to that consumer in an amount equal to the sum of … in the case of any

               successful action to enforce any liability under this section, the costs of the action

               together with reasonable attorney’s fees as determined by the court.”

           b. CUTPA, Conn. Gen. Stat. § 42-110g(d): “In any action brought by a person under

               this section, the court may award, to the plaintiff, in addition to the relief provided

               in this section, costs and reasonable attorneys’ fees based on the work reasonably

               performed by an attorney and not on the amount of recovery.”

           c. Elder Exploitation, Conn. Gen. Stat. § 17b-462(a): “An elderly person who has

               been the victim of abuse, neglect, exploitation or abandonment, as such terms are

               defined in section 17b-450, may have a cause of action against any perpetrator

               and may recover actual and punitive damages for such abuse, neglect, exploitation

               or abandonment together with costs and a reasonable attorney’s fee.”

   6.     Plaintiffs hereby move the Court for an award of their reasonable attorney fees.

   7.     The tasks undertaken by Plaintiffs’ counsel to reach the successful resolution of this

case are set forth in the schedule of time expended included in the Certifications of Andrew Milz

(Ex. 1) and Jeffrey Gentes (Ex. 3) submitted along with Plaintiffs’ other certifications in support

and memorandum of law. Counsel has made certain voluntary reductions in light of a settlement

with the other Defendant, significantly reducing their lodestar to the amount of $152,719.27

sought here.




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   8.     As set forth in the attached certifications and memorandum, the hourly rates of

Plaintiffs’ counsel are the actual hourly rates charged by counsel in complex litigation of the type

pursued here. The hourly rates are consistent with the rates charged by other attorneys of similar

experience and qualifications in this market.

   9.     Moreover, the time spent by counsel was reasonable and necessary for the successful

prosecution of this case.

        WHEREFORE, Plaintiffs respectfully request that they be awarded reasonable attorney’s

fees and costs from Defendants in the amount of $152,719.27.



Dated: September 23, 2024                            THE PLAINTIFFS
                                                     BRIDGET DE MOURA CASTRO &
                                                     LUIZ DE MOURA CASTRO

                                                     /s/ Jeffrey Gentes
                                                     Jeffrey Gentes (ct28561)
                                                     Sarah White (ct29329)
                                                     Connecticut Fair Housing Center
                                                     60 Popieluszko Court
                                                     Hartford, CT 06106
                                                     Phone: (860) 263-0741

                                                     /s/ Andrew M. Milz
                                                     Andrew M. Milz (pro hac vice)
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